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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA

                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                          )            COURTROOM MINUTES - CRIMINAL
                                                   )              BEFORE: JOHN F. DOCHERTY
                        Plaintiff,                 )                  U.S. Magistrate Judge
                                                   )
 v.                                                )   Case No:              25-mj-376 JFD
                                                   )   Date:                 June 16, 2025
Vance Luther Boelter,                              )   Court Reporter:       Tim Willette
                                                   )   Courthouse:            St. Paul
                        Defendant.                 )   Courtroom:            Devitt Courtroom
                                                   )   Time Commenced:       1:29 p.m.
                                                   )   Time Concluded:       1:42 p.m.
                                                   )   Time in Court:        13 minutes

APPEARANCES:
 Plaintiff: Bradley Endicott, Harry Jacobs and Daniel Bobier, Assistant U.S. Attorneys
 Defendant: Matthew Deates, Assistant Federal Public Defender
                 X FPD         X To be appointed

 Date Charges Filed: June 15, 2025     Offense: Count 1: Stalking-Use of Interstate Facilities; Count 2: Stalking-Use
                                       of Interstate Facilities; Count 3: Possession and use of a firearm in furtherance
                                       of Murder; Count 4: Possession and use of a firearm in furtherance of Murder;
                                       Count 5: Knowingly used and carried a firearm, and in furtherance of such
      X Advised of Rights              crimes, possessed a firearm, which was brandished and discharged; Count 6:
                                       Knowingly used and carried a firearm, and in furtherance of such crimes,
                                       possessed a firearm, which was brandished and discharged.
 on     X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered.

Defense moves the Court to find good cause to set the next hearing for June 27, 2025. ECF no. 8 is X GRANTED.

Next appearance date is Friday, June 27, 2025 at 11:00 a.m. before U.S. Magistrate Judge Douglas L. Micko in the
Devitt Courtroom (STP) for:
 X Detention hrg        X Preliminary hrg

X The Government moves to dismiss the unlawful flight complaint filed in case number 25-mj-375 JFD.
    X GRANTED. The Court awaits input from counsel regarding the unsealing of this matter.

Additional Information:
X Oral Rule5(f) Brady notice read on the record.
X Consular notice read on the record.
                                                                                             s/nah
                                                                                         Signature of Courtroom Deputy
